[1] For the reasons stated in the opinion this day filed in proceeding numbered 4979, entitled Katherine Dowd (a Widow),and Sibyl E. Dowd, Petitioners, v. The Superior Court of theState of California, for the City and County of San Francisco,et al., Respondents, ante, p. 4, [230 P. 961[, it is ordered that the motion of respondents herein for an order correcting the transcript on appeal be and the same is hereby granted, subject to the stipulation of the parties made in open court, to the effect that if the writ of certiorari applied for in said proceeding be denied that all instructions proposed by the respective parties, copies of which were filed herein as exhibits at the time of the hearing *Page 792 
of this motion on June 9, 1924, be made a part of the record on appeal.
Tyler, P. J., and St. Sure, J., concurred.